 BEFORE THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT
                     OF TENNESSEE AT NASHVILLE


JOHN DOE,                                              )
                                                       )
Plaintiff,                                             )
                                                       )
v.                                                     )   CASE NO. 3:18-cv-00569
                                                       )   District Judge William L. Campbell, Jr.
                                                       )   Magistrate Judge Jeffrey S. Frensley
VANDERBILT UNIVERSITY,                                 )
MARY HELEN SOLOMON, and                                )
CARA TUTTLE BELL,                                      )
                                                       )
Defendants.                                            )

________________________________________________________________________________

   PLAINTIFF JOHN DOE’S MEMORANDUM IN OPPOSITION TO DEFENDANT'S’
       MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
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        Comes the Plaintiff, by and through counsel, and offers this Memorandum in Opposition to

Defendant’s Motion to Dismiss. In summary, Plaintiff asserts that his Second Amended Complaint

properly states all claims included therein.

                                  I.      STATEMENT OF FACTS

             Title IX requires universities like Vanderbilt that receive federal funding to adopt written

 policies to address sexual misconduct complaints involving students. 20 U.S.C. §§ 1681-1688;

U.S. Dep’t of Education, Revised Sexual Harassment Guidance: Harassment of Students by

School Employees, Other Students, or Third Parties (2001) (the “2001 Guidance”).

        Vanderbilt’s Sexual Misconduct Policy prohibits “all forms of sexual misconduct, sexual

assault, sexual harassment, and intimate partner violence, including dating violence, domestic




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violence, and stalking.” Defendant’s Ex. A1 at 106. “Dating Violence” means “sexual,

psychological, or physical abuse or the threat of such abuse committed by a person who is or has

been in a social relationship of a romantic or intimate nature with the person against whom the

violence is perpetrated.” Id. at 112. “‘Sexual Assault – Intercourse’ is any vaginal and/or anal

penetration – however slight – by any body part . . . by any person upon another without effective

consent.” Id. “‘Sexual Assault – Contact’ is any contact of a sexual nature – however slight – with

the breasts, buttocks, groin, genitals, mouth, or other body part of another, by any person upon

another without effective consent.” Id. “Effective Consent” means “consent that is informed and

freely and actively given.” Id. at 113. “Effective consent requires mutually understandable words

or actions indicating a willingness to engage in mutually agreed-upon sexual activity . . . [and]

must be maintained by both parties throughout the sexual interaction. Effective consent for one

form of sexual activity does not constitute or imply effective consent for another form of sexual

activity. Effective consent to sexual activity may be revoked at any time, at which point sexual

activity must cease immediately.” Id.

        The Policy also establishes procedures for investigating sexual misconduct. The

procedures in place during the 2016-2017 academic year were as follows: Complaints                           were

referred to the Equal Opportunity, Affirmative Action, and Disabilities Services office (“EAD”).

Id. at 110. The Director of EAD would then decide whether an investigation should be opened,

based on specified factors. Def. Ex. A. at 111. If an investigation was opened, the Student

Accountability office (“Student Accountability”) would then determine the violations to be

charged and would notify the respondent of the charges and possible sanctions. Def. Ex. A. EAD

would then “inform the respondent of the allegations and provide the respondent with an


1
 The 2016-2017 Student Handbook is attached to Defendant’s Motion to Dismiss as Exhibit A, and is referred to herein
as “Defendant’s Ex. A,” as it would be duplicative to file it a second time in support of this Memorandum.

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opportunity to respond to the allegations, ask questions, provide information, and offer names of

witnesses or other people with relevant information.” Def. Ex A. at 113. EAD would then

investigate the allegations. An EAD investigator would be tasked with interviewing the

complainant, the respondent, and other witnesses who “may have pertinent knowledge.” Id at 113.

“Both the complainant and the respondent [were] permitted to ask one adviser of their choosing to

accompany them to all meetings related to the report of a violation of the [P]olicy.” Id. at 118.

However, neither the complainant nor the respondent was required to have an adviser

present See id. EAD investigators would then permit the complainant and the respondent to

review and comment on their respective interview summaries. Id. at 113. Once the EAD

investigator had completed the interviews and fact-gathering, a preliminary report would be

prepared. See id. at 117-118. “Both the complainant and respondent [then would have] the

opportunity to submit written comments on the preliminary report.” Id. at 118. EAD would

consider the comments submitted by the parties, if any, and conduct further investigation if

needed. See id. at 119.

       After the investigation was completed, EAD issued a Final Investigative Report. The Final

Investigative Report “set[] forth (a) EAD’s final determination, based on a preponderance of the

evidence, whether the respondent engaged in sexual misconduct in violation of this [P]olicy, and

(b) if appropriate, any relevant recommendations.” Def. Ex. A at 119. The Final Investigative

Report also contained “a summary of the information and documents on which the final

determination and any recommendations [were] based” and it addressed, “to the extent EAD

consider[ed] appropriate, any comments received from the complainant or respondent concerning

the preliminary investigative report.” Id. At no time during the investigative process does

Vanderbilt hold a live hearing, or offer the parties the opportunity to confront the witnesses against



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them (Def. Ex. A).

       If EAD found a violation of the Policy, Student Accountability would render a sanction

based on the information in the Final Investigative Report. Def. Ex. A at 121. “The sanctions for

Sexual Assault – Intercourse range from suspension to expulsion, and the sanctions for Sexual

Assault – Contact or Dating Violence range from disciplinary probation to expulsion.” Id.

       The respondent then had the right to appeal the determination and sanction on any of the

following grounds: (1) procedural irregularities in the investigation that were sufficient to affect

the determination and/or sanction; (2) insufficient evidence in support of the determination; (3)

new evidence that could reasonably be expected to change the determination; and (4) abuse of

discretion in sanctioning by Student Accountability. Def. Ex. A at 122-123; Am. Compl. ¶ 94.

Appeals were considered by a panel of three Appellate Officers, consisting of “faculty and/or

administrators appointed by the Chancellor” who are supposed to receive “annual training on

issues involved in sexual misconduct, such as relevant evidence, the appeals process, standards of

review, and avoiding actual or perceived conflicts of interest.” Def. Ex. A at 121-122. The

Appellate Officers decided appeals by majority vote. Id. at 119.

        A.      Jane Roe’s Complaint Against John Doe

       According to Vanderbilt’s investigative report, on February 10, 2017, Jane Roe, a female

Vanderbilt student, told her resident advisor and a 24-hour crisis support center that Doe had

sexually and physically assaulted her early that morning. See 2nd Am. Compl ¶ . Jane Roe alleged

that she and John Doe engaged in an initially consensual sexual encounter that became

nonconsensual when Doe began to choke her in his dorm room. Jane Roe alleged that she did not

consent to the choking or to the sexual intercourse and contact that followed it. John Doe

maintains that Jane was an active, voluntary participant in the encounter throughout.



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       Based on Jane Roe’s allegations, Vanderbilt referred the matter to EAD, which opened an

investigation and provided a summary of Roe’s allegations to Student Accountability. See 2nd Am.

Compl ¶9. Student Accountability charged John Doe with sexual assault- intercourse, sexual

assault-contact, and dating violence. Student Accountability provided Doe with a copy of the

charge sheet and notice of the charges against him. John Doe indicated on the charge sheet that he

disagreed with each of the charges. See id. ¶ 12-13.

       EAD then investigated Jane Roe’s allegations. EAD interviewed Jane Roe three times,

John Doe only twice, and over a dozen other witnesses. See 2nd Am. Compl ¶ 20-21. The EAD

did not hold a live hearing Id. ¶ 23-24.

       On October 9, 2017, EAD issued its Final Investigative Report (the “Report”) and

provided it to each party. See 2nd Am. Compl ¶ 45. EAD found, based on a preponderance of the

evidence, that John Doe committed sexual assault‒intercourse and sexual assault‒contact during

his encounter with Jane Roe in violation of the Sexual Misconduct Policy. Id. ¶ 44. In particular,

EAD found that John Doe’s encounter with Jane Roe became nonconsensual when Doe first

engaged in force by choking Jane Roe in his dorm room. See id. ¶ 43. EAD further concluded,

based on photographs of Jane Roe’s body and a medical examination report, that the force Doe

used was not part of agreed “rough sex.” The EAD did not mention in its final report that the

presence of marks on both of their bodies indicated that the “rough sex” was consensual.

       EAD concluded “that if Jane Roe was intoxicated to the point of incapacitation, [Doe] did

not know and/or reasonably would not have known that she was incapacitated.” See 2nd Am.

Compl ¶ 42 Based on its finding that the sexual encounter became nonconsensual once John Doe

choked Jane Roe in Doe’s room, EAD concluded that John Doe had committed sexual

assault-intercourse, sexual assault-contact, and dating violence in violation of Vanderbilt’s Sexual


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Misconduct Policy. See 2nd Am. Compl ¶ 44.

       Vanderbilt informed Doe on October 25, 2017, that he would be expelled based upon the

EAD’s findings See 2nd Am. Compl ¶ 46. John Doe timely appealed on November 3. Id. ¶ 47. He

also emailed Vanderbilt’s Chancellor on December 4, asking him to intercede and reverse the

sanction. Id. ¶ 49. On or about December 01, 2017, Vanderbilt hired Molly Zlock as it’s Title IX

Compliance Director Id. ¶ 11. Ms. Zlock maintains a facebook page upon which, prior to being

hired by Vanderbilt, she posted that “We must always take sides. Neutrality helps the oppressor.”

Id. ¶ 80. Doe’s appeal was denied and the sanction upheld just two weeks later, on January 17,

2018. Id. ¶ 51. Ms. Zlock has since been promoted to Title IX Coordinator Id. ¶ 11.

       After his appeal was denied, Doe was escorted to Student Accountability, where he told the

Director, defendant Mary Helen Solomon, that he was suicidal See 2nd Am. Compl ¶ 52. In

response, Solomon threatened Doe that she would call the police if he didn’t go the Student

Counseling Center. Id. ¶ 53. Doe went to the Student Counseling Center, which “determined that

Doe was a suicide risk and involuntarily committed [him] to a mental health facility” Id. ¶ 54.

Vanderbilt did not notify Doe’s next of kin that he was suicidal or that he had been hospitalized Id.

¶ 55. A friend notified Doe’s parents, who live in another country, and Doe’s father “checked him

out of the hospital” five days later, which was the soonest Doe’s father could physically get to the

United States and Vanderbilt. Id. ¶¶ 61-62.

       On June 22, 2018, John Doe sued the University for alleged violations of Title IX, breach

of contract, promissory estoppel, intentional infliction of emotional distress, and negligence under

a number of theories. See Amended Complaint Substituted for Original Complaint.

                                II.     STANDARD OF REVIEW




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      Pursuant to FED. R. CIV. P. 8(a)(2), all pleadings must contain “a short and plain statement of

the claim showing that the pleader is entitled to relief.” The pleading standard prescribed by FED.

R. CIV. P. 8(a) does not obligate a plaintiff to set forth “detailed factual allegations.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic v. Twombly, 550 U.S. 544, 555 (2007)). It

merely requires the plaintiff “to ‘give the defendant fair notice of what the…claim is and the

grounds upon which it rests.’” Twombly, 550 U.S. at 555 (quoting Conley v. Gibson, 355 U.S. 41, 47

(1957)). “[A] complaint that states a plausible claim for relief survives a motion to dismiss.” Iqbal,

556 U.S. at 679. “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Id. at 678 (citing Twombly, 550 U.S. at 556). Accordingly, to survive a motion to dismiss, a

plaintiff’s “[f]actual allegations must be enough to raise a right to relief above the speculative level

on the assumption that all the allegations in the complaint are true.” Ass’n of Cleveland Fire

Fighters v. City of Cleveland, Ohio, 502 F.3d 545, 548 (6th Cir. 2007) (quoting Twombly, 550 U.S.

at 555).

      According to the United States Supreme Court, “a complaint should not be dismissed for failure

to state a claim unless it appears beyond doubt that the plaintiff can prove no set of facts in support

of his claim which would entitle him to relief.” Conley v. Gibson, 355 U.S. 41, 45-46 (1957); see

also Lewis v. ACB Bus. Servs., 135 F.3d 389, 405 (6th Cir. 1997). “Thus, the standard to be applied

when evaluating a motion to dismiss for failure to state a claim is very liberal in favor of the party

opposing the motion.” Chalmers v. Clemons, 359 F. Supp. 2d 700, 702 (W.D. Tenn. 2005). “[E]ven

if the plaintiff’s chances of success are remote or unlikely, a motion to dismiss should be denied.”

Id.




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   Recently, In Doe v. Columbia University, 831 F.3d 46 (2d Cir. 2016), the Second Circuit found

that Title IX discrimination claims were entitled to a temporary presumption reducing the facts

needed to plead discriminatory intent, much like the modified pleading standard it applies in Title

VII employment-discrimination cases. To that end, the Second Circuit held that a plaintiff under

Title IX must only plead a “minimal plausible inference” of discriminatory intent to survive a

motion to dismiss. The Second Circuit opined that the modified pleading standard reduces the facts

needed to be pled under Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007) and Ashcroft v. Iqbal,

556 U.S. 662 (2009), which require a plaintiff to plead specific facts sufficient to support a plausible

inference that a defendant is liable under the claim asserted. Plainly put, the Second Circuit’s ruling

in Columbia University makes it easier for a student disciplined by his or her university for sexual

misconduct to bring claims of gender discrimination against the university under Title IX.

   While it is true that the Sixth Circuit declined to adopt this standard in its recent decision in Doe

v. Miami Univ., 882 F.3d 579, 589 (6th Cir. 2018), Plaintiff submits to the Court that there is no time

like the present to change its mind. In light of the #MeToo movement and the rampant

discrimination against accused males on college campuses, it would be prudent and discerning for

this court to now hold that it is going to reduce barriers to justice for the accused, and adopt the

pleading standard set forth in Columbia University for Title IX claims.



                                        III.    ARGUMENT

   1. John Doe has properly pled his Title IX Claims.

       The Sixth Circuit recognizes “four theories of liability that a student who is attacking a

university disciplinary proceeding on grounds of gender bias” can advance: (1) “erroneous

outcome,” (2) “selective enforcement,” (3) “deliberate indifference,” and (4) “archaic



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assumptions.” Doe v. Miami Univ., 882 F.3d 579, 589 (6th Cir. 2018). Doe’s Second Amended

Complaint properly pleads his claims according to the standards articulated therein.

           a. John Doe’s Second Amended Complaint properly pleads his Erroneous

               Outcome claim under Title IX.

       To plead an erroneous outcome Title IX claim, a plaintiff must allege: “(1) facts sufficient

to cast some articulable doubt on the accuracy of the outcome of the disciplinary proceeding and

(2) a particularized . . . causal connection between the flawed outcome and gender bias.” Miami

Univ., 882 F.3d at 592 (internal quotation marks omitted); see also Yusuf v. Vassar Coll., 35 F.3d

709, 713 (2d Cir. 1994) (requiring plaintiff to “specifically allege . . . circumstances giving rise to

a plausible inference . . . of discriminatory intent”). The court in Miami University 882 F.3d at 592

further discussed circumstances giving rise to a plausible inference of discriminatory intent in this

passage:

              “...John also asserts that Miami University faced external pressure from
       the federal government and lawsuits brought by private parties that caused it to
       discriminate against men. ……..Additionally, John contends that Miami
       University was facing pressure to increase the zealousness of its "prosecution" of
       sexual assault and the harshness of the sanctions it imposed because it was a
       defendant in a lawsuit brought by a student who alleged that she would not have
       been assaulted if the University had expelled her attacker for prior
       offenses……...Considering all of these factual allegations relating to Miami
       University's pattern of activity respecting sexual-assault matters and the asserted
       pressures placed on the University, John has pleaded sufficient specific facts to
       support a reasonable inference of gender discrimination. At the pleading stage,
       John's allegations need only create the plausible inference of intentional gender
       discrimination.”

The facts alleged in the instant case satisfy both prongs of this requirement.

       Plaintiff asserts, inter alia, that the following facts cast articulable doubt on the accuracy of

the outcome of the relevant proceedings: the fact that Jane initiated the sexual contact that night,

the fact that there were marks on both John and Jane’s bodies, the fact that Jane stated that she was




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“fine with” the sexual encounter when it began, the fact that John indicated that the encounter was

consensual and that Jane actively participated throughout, and the fact that the EAD found that, if

Jane lacked the capacity to consent at any point, John could not have known it.

       Plaintiff further alleges circumstances giving rise to a plausible inference that the

erroneous outcome is the result of gender bias. Doe describes Title IX Coordinator Molly Zlock’s

glaring bias against accused males,2 and points out to the court thats she was openly and

unabashedly biased towards female victims when Vanderbilt hired her. Ms. Zlock was the Title IX

Coordinator in the case referenced by Defendants, Doe v. Belmont, 2018 WL 4627033. It stands to

reason, then, that Vanderbilt’s EAD, or Title IX department, were looking for someone with Ms.

Zlock’s biases.

       Plaintiff further alleges that Vanderbilt is under pressure to retain its federal funding, to

avoid negative publicity, and to protect its brand and image at the expense of accused male

students. Defendant characterizes this assertion in its Motion to Dismiss as “...General allegations

about public pressure to resolve sexual assault complaints,” which it contends are “insufficient to

show that gender bias was the motivating factor in the erroneous result.” In reality, Vanderbilt is

under more intense scrutiny than most universities regarding Title IX cases. Vanderbilt is still

trying to overcome, and distance itself from, the egregious and now infamous Vanderbilt rape case.

The Vanderbilt rape case, which made national headlines, included several accused rapists, and led

to multiple trials, began in 2013 and has just come to a conclusion over 5 years later. The

Vanderbilt rape trials have donned the same infamy as the Duke lacrosse scandal, only in the

Vanderbilt case, the men accused were actually guilty of multiple rapes of one woman. Vanderbilt



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 Molly Zlock has expressed her belief that “We must always take sides. Neutrality favors
the oppressor,” among other things. See 2nd Am. Compl. Ex. A and B for this and other
examples.

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Has something to prove to all who are watching. Vanderbilt feels that it must prove to prospective

students, parents, and financial contributors, that it protects females and does not condone sexual

assault. One recent article in the Tennessean newspaper (out of hundreds) stated:

                 “[the] Vanderbilt rape case brought college sexual assault 'to the
                 forefront”“It put the spotlight on sexual assaults on college campuses
                 throughout the country,” said Metro police detective Chad Gish, who
                 developed pivotal digital evidence in the case. “The Vanderbilt case,
                 that kind of brought it to the forefront.” Experts in sexual assault and
                 law enforcement drew a direct connection between the conversations
                 and changes that followed and broader movements like #MeToo.
                 “These terrible things happen, and we've been intimately privy to the
                 details through the Vanderbilt rape case," said Rachel Freeman,
                 president of the Nashville Sexual Assault Center. “That has been
                 really sad and really hard to hear.” The Tennessean.3



           Vanderbilt has more than one concern in this case, and in all others like it, leading

Vanderbilt to find for the accuser most of the time, whether the evidence supports that finding or

not. Vanderbilt is too fearful of another situation causing national attention. In short, it is politically

dangerous for Vanderbilt to find an accused male “not responsible” in a title IX case. Under Doe v.

Miami University, 882 F.3d 579 (C.A.6 2018), these facts are more than enough to support a

reasonable inference of gender discrimination. Therefore, Plaintiff’s Erroneous Outcome claims

should not be dismissed.

           Furthermore, the Sixth Circuit has explained that the accused individual in a Title IX case

must be given the opportunity to share his version of the events at some kind of hearing. Doe v.

Univ. of Cincinnati, 872 F.3d at 399–400. Last month, in Doe v. University of Michigan, 2018 WL

3329575, (E.D.Mich., 2018), the Court found that “Without a live proceeding, the risk of an

erroneous deprivation of Plaintiff's interest in his reputation, education, and employment is


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    Published 7:06 p.m. CT June 22, 2018.



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significant.” It then proceeded to order UM to hold a live hearing and afford the Plaintiff the

opportunity to face his accuser. Vanderbilt does not afford the accused student any type of hearing

whatsoever. While Plaintiff recognizes that the universities of Michigan and Cincinnati are public

universities and Vanderbilt is a private university, he submits to the court that if the receipt of

federal funding triggers the application of Title IX, then the receipt of federal funding ought to

also trigger to the obligation to afford a student due process. It is ridiculous for the courts to apply

Title IX to a defined set of schools, i.e. all those that receive federal funding, yet then maintain

different sets of rules for different types of schools within that set. If Title IX is to be applied at all,

it ought to be applied the same way for every student at every school. The risk of depriving a

young man of his reputation, education, and employment is no less significant because he attends a

private school. Vanderbilt’s investigative procedure did not afford Doe due process, therefore, the

outcome must be deemed erroneous and the matter should be remanded to Vanderbilt for

proceedings consistent with University of Michigan.

        b. John Doe’s Second Amended Complaint properly pleads his Deliberate

Indifference claim under Title IX.

        A deliberate indifference claim must show “that an official of the institution who had

authority to institute corrective measures had actual notice of, and was deliberately indifferent to,

the misconduct.” Doe v. Miami Univ., 882 F.3d at 590. In his Second Amended Complaint,

Plaintiff alleges that those responsible for deciding his appeal, particularly Title IX Compliance

Manager Molly Zlock, had actual notice of the University’s failure to provide him with due

process, and that they were deliberately indifferent to the same because of his gender. In support of

this assertion, Plaintiff points out that he was not afforded the opportunity to participate in a live

hearing or to confront the witnesses against him, and that Molly Zlock, who was responsible for




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seeing to it that Vanderbilt’s actions complied with Title IX, is openly and vocally biased against

males accused of sexual assault.4

           Plaintiff acknowledges that Doe v. Miami University, 882 F.3d 579 says what it says

regarding the need to connect a deliberate indifference claim to allegations of sexual assault, and

Plaintiff asserts that Title IX jurisprudence has evolved to the point that this requirement needs to

be re-thought. In Doe v. University of Michigan, 2018 WL 3329575, (E.D.Mich., 2018), the Court

acknowledges that the risk to an accused student’s reputation, education, and employment are

significant. Furthermore, when dealing specifically with Title IX cases, the courts have begun to

address some specific indices of this new arena of cases which may not arise in other areas of

litigation. For example, “...the “discrimination” that Title IX prohibits is not the acts of sexual

assault or sexual harassment in and of themselves, but rather the differential treatment by a

funding recipient of persons of a particular sex who are taking part or trying to take part in its

educational program or activity but are suffering acts of sexual harassment or assault that

undermine their educational experience. Cf. Oncale v. Sundowner Offshore Servs., Inc., 523 U.S.

75, 80, 118 S.Ct. 998, 140 L.Ed.2d 201 (1998) (“We have never held that workplace harassment ...

is automatically discrimination because of sex merely because the words used have sexual content

or connotations. ‘The critical issue, Title VII's text indicates, is whether members of one sex are

exposed to disadvantageous terms or conditions of employment to which members of the other sex

are not exposed.’ ” (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17, 25, 114 S.Ct. 367, 126

L.Ed.2d 295 (1993) (Ginsburg, J., concurring) ) ). Doe v. Brown University, 896 F.3d 127, 132

(C.A.1 (R.I.), 2018)

           The same logic should be applied when Vanderbilt University is deliberately indifferent to



4
    See extensive examples of bias in Exhibit A to Second Amended Complaint.

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a student’s Constitutional Rights. Because Defendant failed to provide Doe with due process,

knew that it failed, and was deliberately indifferent to the failure, this Court should hold that the

potential damage to Doe arising out of such indifference is so significant that he ought to be able

to seek redress in the courts for it.

2. Doe’s Second Amended Complaint properly states a claim for Declaratory Judgment.

        Defendant’s allegations that Doe has not stated a claim for which relief can be granted

under Title IX are addressed in the two prior sections. In his Second Amended Complaint, Doe

properly states claims under Title IX for Erroneous Outcome, Deliberate Indifference, and

Selective Enforcement.

        Vanderbilt asserts that there is not a private right of action under Title IX, however, the

Supreme Court held otherwise in Doe v. Brown University, 896 F.3d 127. In fact, in this case the

court was not dealing with whether or not there was a private right of action, but how far it would

extend. The question of whether or not there was a private right of action was implied by all at the

onset. “The Supreme Court has recognized an implied “private right of action to enforce [Title

IX's] prohibition on intentional sex discrimination,” see Cannon v. Univ. of Chi., 441 U.S. 677,

690-93, 99 S.Ct. 1946, 60 L.Ed.2d 560 (1979), which includes actions for monetary damages by

private persons and “encompasses intentional sex discrimination in the form of a recipient's

deliberate indifference.” Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 173, 125 S.Ct. 1497,

161 L.Ed.2d 361 (2005).

        Doe does not base his claim for declaratory relief solely on Vanderbilt’s failure to follow

administrative regulations. Rather, Doe is alleging that Vanderbilt’s policies, as they are written

and as they were applied to him, discriminate against him because of his gender in violation of

Title IX. The fact that Defendant has violated administrative guidelines is relevant evidence




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supporting the broader claim of discrimination. Plaintiff has alleged ample facts in support of his

discrimination claim, therefore, his claim for declaratory judgment should not be dismissed.

3. Doe Properly states a claim for Breach of Contract.

       In Tennessee, to allege a breach of contract a plaintiff must plead (1) the existence of an

enforceable contract, (2) nonperformance amounting to a breach of the contract, and (3) damages

caused by the breach. Thomas v. Meharry Med. Coll., 1 F.Supp.3d 816, 828 (M.D. Tenn. 2014).

The Tennessee Supreme Court “has not ... enunciated the standard which should be applied in a

dispute arising out of the university-student relationship.” Doherty v. S. Coll. of Optometry, 862

F.2d 570, 577 (6th Cir. 1988). However, the U.S. Court of Appeals for the Sixth Circuit, applying

Tennessee law, has stated that “the student-university relationship is contractual in nature,”

although courts “have rejected a rigid application of contract law in this area.” Sifuna v. S. Coll. of

Tenn., Inc., No. 17-5660, 2018 WL 3005814, at *2 (6th Cir. Apr. 5, 2018); Atria v. Vanderbilt

Univ., 142 F. App'x 246, 255 (6th Cir. 2005). Generally speaking, this relationship is implied as

opposed to express. Anderson v. Vanderbilt Univ., 450 F. App'x 500, 502 (6th Cir. 2011); see also i,

142 F. App'x at 255 (holding that, even though Vanderbilt's Student Handbook, including policies

that were “not intended to be all-inclusive and do not constitute a contract,” was not an express

written contract, its provisions may be enforced in Tennessee as an implied contract); Doe v. Univ.

of South, No. 4:09-cv-62, 2011 WL 1258104, at *18 (E.D. Tenn. Mar. 31, 2011) (holding same as

to university's sexual assault policies and procedures); accord Papelino v. Albany Coll. of

Pharmacy of Union Univ., 633 F.3d 81, 93 (2d Cir. 2011)(under parallel contract law, finding

implied contract exists between student and university). Catalogs, manuals, student handbooks,

bulletins, circulars and regulations of a university help define the implied contractual relationship.

Atria, 142 F. App'x at 255. 2017).




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        A disciplinary action by a university is the appropriate subject matter of a breach of

contract action. Id. However, “[c]ontracts for private education have unique qualities and must be

construed to allow the institution's governing body to meet its educational and doctrinal

responsibilities.” Valente v. Univ. of Dayton, 438 F. App'x 381, 384 (6th Cir. 2011).

        Vanderbilt has violated an express or implied contract by failing to provide Doe with a

“fair” adjudicatory process. First, Vanderbilt’s disciplinary process was contractually flawed

because the Policy does not require an employee or investigator to act without bias. See Second

Am. Compl. ¶ 73. While it may be true that “a disciplinary committee is entitled to a presumption

of honesty and integrity,” Atria v. Vanderbilt Univ., 142 F. App’x 246, 256 (6th Cir.

2005)(emphasis added), that is merely a presumption and it can be rebutted. The fact that

Vanderbilt willingly hired Molly Zlock as its Title IX Compliance Manager, knowing that she is

vocally biased against males accused of sexual assault5, is an allegation sufficient to rebut any

presumption of honesty and integrity in the Vanderbilt Title IX system. It follows that those who

report to Zlock, whether they are individual investigators or committee members, are under at least

some pressure to conform their job performance to her world-view. In several instances, the EAD

made a finding of fact based solely on Jane Roe’s statement, but in no case did the EAD make a

finding of fact based solely on John Doe’s statement. Defendant proffers that assessing the

credibility of witnesses is well within the discretion of the University’s fact finder, Pierre v. Univ.

of Dayton, 143 F. Supp. 3d 703, 712-713 (S.D. Ohio 2015), This Sixth Circuit, however, in Doe v.

Univ. of Cincinnati, 872 F.3d 393, explained that "[c]ross-examination is `not only beneficial, but

essential to due process' in a case that turns on credibility because it guarantees that the trier of fact



5
 Molly Zlock has expressed her belief that “We must always take sides. Neutrality favors
the oppressor.” See 2nd Am. Compl. Ex. A and B. for other examples.


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makes this evaluation on both sides." Id. at 402 (quoting Flaim, 418 F.3d at 641), and the Eastern

District of Michigan, just last month, required UM to hold a live hearing in order to accurately

assess credibility. Plaintiff recognizes that this court recently declined to apply Univ. of Cincinnati

and Doe v. Baum, ––– F.3d ––––, –––– – ––––, No. 17-2213, 2018 WL 4265634, at *1-6 (6th Cir.

Sept. 7, 2018) in its decision in Doe v. Belmont University 2018 WL 4627033, however, Plaintiff

again submits to the Court that there is no time like the present to change its mind. If the receipt of

federal funding triggers the application of Title IX, then the receipt of federal funding ought also

trigger the obligation to provide due process to students accused of sexual misconduct.

       Aside from the case law itself, It is foolhardy to think that an investigator who conducts a

telephone interview with a witness, who never sees the witnesses facial expressions or body

language, and who never sees the witnesses demeanor when challenged by the accused, can

accurately determine credibility. Furthermore, that investigator works for the biased Molly Zlock,

and has the latitude to include or exclude whatever portions of the interview he or she wishes to

include or exclude. Per the Student Handbook (Def. Ex. A), the Final Investigative Report

contains “a summary of the information and documents on which the final determination and any

recommendations [were] based” and it addressed, “to the extent EAD consider[ed] appropriate,

any comments received from the complainant or respondent concerning the preliminary

investigative report. (emphasis added).” This policy leaves the door wide open for bias, and that

by itself is enough to plausibly support allegations of significant bias against Doe. Further

evidence of bias is likely to be located during the discovery process, but for the purposes of this

Motion, plaintiff has alleged facts supporting a plausible inference of bias.

       Second, Doe’s Second Amended Complaint does not include allegations that he was not

permitted to select an advisor with legal training.




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       Third, Vanderbilt failed to make use of competent, trained, and unbiased investigators. 2nd

Am. Compl. ¶¶ 93-96. This allegation is premised on the same facts that support Doe’s allegation

that Vanderbilt breached an implied contract by failing to require unbiased investigations as a

matter of policy. Additionally, this allegation is supported by the facts alleged regarding Molly

Zlock. While she may not have been an actual investigator, the fact that Vanderbilt would hire her,

knowing she was biased against accused males, and make her responsible for the University’s

compliance with Title IX, is evidence of institutional bias at every level, including the

investigators. Therefore, these allegations state a claim for the same reasons previously discussed.

       Fourth, Vanderbilt failed to Provide Doe with an opportunity to cross-examine witnesses at

a hearing. 2nd Am. Compl. ¶¶ 23-24. The Sixth Circuit settled the need for some sort of

cross-examination, whether direct or indirect, in Doe v. Univ. of Cincinnati, 872 F.3d 393, and it

follows that such opportunity would require some kind of live proceeding. Vanderbilt’s Policy

does not “provide for any sort of hearing for students accused of sexual misconduct.” Id.

Defendant states this as if it resolves the question of whether Doe was entitled to a hearing, but it

does not. The Sixth Circuit had previously explained that the accused must be given the

opportunity to share his version of the events and to face and cross-examine his accuser. Id. at

399-400, and more recently, the Eastern District of Michigan has held in Doe v. University of

Michigan, 2018 WL 3329575, (E.D.Mich., 2018) that fairness in that case required a live

proceeding, as discussed supra. Defendant asserts that this Court’s recent holding in Doe v.

Belmont University 2018 WL 4627033 renders recent due process decisions inapplicable and “of

no consequence.” Plaintiff disagrees, and submits that such cases are instructive regarding the

need for all accused students to be afforded due process.

       Defendant asserts that it cannot breach promises it never made, and that, (“While a




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university cannot ignore its duty to treat its students fairly, neither is it required to transform its

classrooms into courtrooms.”), aff’d, 787 F.2d 590 (6th Cir. 1986). Plaintiff is not requesting that

Vanderbilt turn its classrooms into courtrooms, rather, he is alleging that its failure to provide 1) a

hearing; and 2) an opportunity to face his accuser, has deprived him of a fair and impartial

determination of the charges laid against him. It follows that that deprivation is a breach of the

University’s contractual obligation to him.

       Fifth, Vanderbilt found Doe responsible for sexual misconduct without sufficient evidence.

Defendants allege that Doe does not plead any facts demonstrating that EAD’s conclusions were

not supported by a preponderance of the evidence. To the contrary, Doe alleges that the EAD took

Jane’s word over his in all cases. Doe points out that a significant portion of this investigation

turns on “he said vs. she said,” and that in a situation where assessing credibility was critical, Doe

was not afforded a hearing or a chance to face his accuser (See discussions of Doe v. Univ. of

Cincinnati, 872 F.3d 393 and Doe v. University of Michigan, 2018 WL 3329575, (E.D.Mich.,

2018), supra). Doe also alleges significant bias on the part of Molly Zlock and those she

supervises, and, perhaps most importantly, Doe alleges Vanderbilt’s obsessive desire to protect

female accusers at all costs following the Vanderbilt Rape trials. Those allegations, taken together,

are more than enough to create a plausible inference that the EAD’s conclusions were supported

by something other than evidence.

       Finally, Vanderbilt did not afford Doe a meaningful right of appeal.2nd. Am. Compl. ¶¶

104-109. To support this contention, Doe alleges that the “Appellate Officers who considered

[his] appeal did not have training in adjudication, in the law, in the weighing of evidence, or in the

relevance o[r] irrelevance of types of evidence in the alleged sexual misconduct investigation

setting.” Id. ¶ 106. Whether those officers do or do not have such training is discoverable, but at



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this time, the evidence that this allegation is true rests in the hands of the Defendant. Doe has

thoroughly alleged that Vanderbilt knew about the fundamental unfairness and the deprivation of

Constitutional rights that pervaded the investigation into Jane Roe’s complaint, and yet, when he

appealed, the appellate officers and the biased Molly Zlock did nothing to right the wrongs he had

suffered. It follows, then, that said officers did not have adequate, appropriate training regarding

how to consider an appeal. This is enough to support the plausible inference that the appellate

officers lack appropriate training, as alleged.

4. Doe’s Second Amended Complaint has properly pled his Promissory Estoppel claim.

       Doe’s Second Amended Complaint properly pleads his claim for promissory estoppel by

alleging that Vanderbilt’s actions, specifically, promising him an education in exchange for his

tuition, and then expelling him for a sexual encounter that he maintains was consensual, is

equivalent to fraud in that Vanderbilt mislead him into believing that it would provide the

education he paid for without interruption or interference, and then interfered by expelling him for

something that he didn’t do. Essentially, Defendant defrauded Doe in order to protect itself from

possible negative publicity and to enrich itself by retaining his tuition.

5. Doe has properly pled Intentional Infliction of Emotional Distress.

       In Tennessee, a plaintiff must “show that the defendant’s conduct was ‘so outrageous in

character, and so extreme in degree, as to go beyond all possible bounds of decency and to be

regarded as atrocious, and utterly intolerable in a civilized community.’” Lourcey v. Estate of

Scarlett, 146 S.W.3d 48, 51 (Tenn. 2004) (quoting Miller v. Willbanks, 8 S.W.3d 607, 614 (Tenn.

1999)). Doe was an international student, holding citizenship both in India and in U.S. See 2nd

Am. Compl. ¶4. After finding Doe responsible for sexual assault, as the result of an encounter that

he maintains was consensual, Doe became suicidal See 2nd Am. Compl. ¶ 52. Vanderbilt




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threatened to call the police on Doe if he didn’t go to the Student Counseling Center, whereupon

he went, and was then committed to a mental health facility, at which time Vanderbilt disclosed

protected information to the hospital See 2nd Am. Compl. ¶ 58. The most outrageous thing about

this series of events is that Vanderbilt never took any action to notify Doe’s next of kin (his

parents, who live in India) that he was suicidal or that he had been committed to an institution. See

2nd. Am. Compl. ¶¶ 55-60. To threaten, and then commit a depressed, suicidal student to an

institution, with no support and without telling anyone who cares about him where he is or what

has happened, absolutely rises to the level of outrageous.

6. Doe’s Second Amended Complaint properly pleads his Negligence Claims.

       Doe can assert negligence per se claims based Title on IX. Defendants assert that he

cannot pursue such a claim because his substantive Title IX claims fail, but, Doe’s Second

Amended Complaint properly pleads three such substantive claims according to the standards

articulated in Doe v. Miami. Therefore, his negligence per se claim based upon Title IX is properly

pled. See discussion supra at ¶ 1a-1b.

       Further, Doe’s Second Amended Complaint properly alleges a plausible negligent training

and supervision claim. Doe asserts that Vanderbilt’s Title IX Compliance Manager lacked the

proper training to carry out his responsibilities in administering the Sexual Misconduct Policy.

This allegation is supported by the fact that Marshall did nothing to correct procedural deficiencies

in the investigation that he knew about, and had the ability to correct. Had Vanderbilt trained

Marshall appropriately, it is probable that Doe would not have suffered the damages he has

suffered. This is enough to support a plausible inference that Vanderbilt was negligent in

supervising and training Marshall.

       Doe’s Second Amended Complaint properly states a claim against the individual




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defendants, by alleging that Bell’s and Solomon’s biased conduct is 1) prohibited by Title IX; 2)

was grossly negligent; and 3) that their biased actions were outside the scope of their employment

See 2nd Am. Compl.           ¶¶ 131-137. Specifically, Doe alleges that Bell acted with bias in

encouraging Doe to file her complaint See 2nd Am. Compl. ¶ 10, and acted with bias when she

knew Vanderbilt was denying Doe due process, and did nothing about it See 2nd Am. Compl. ¶¶

172-176. Doe further alleges that Solomon threatened him, prevented the mental health hospital

from contacting his next of kin, and that she disclosed protected educational information, i.e. that

he was involved in a Title IX investigation, to the hospital See 2nd Am. Compl. ¶¶ 54-60. Taken

together, these allegations are sufficient to state a claim for against the individual defendants.



                                       IV.     CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that Defendant’s Motion to

Dismiss be denied in full.

       DATED this 23rd day of October, 2018.

                                               Respectfully Submitted,




                                               __
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing is being forwarded to counsel of record via the
Court’s ECF system.


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                                                   This 23rd of October , 2018




                                                   Joyce Cooper




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